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 6
 7                            UNITED STATES DISTRICT COURT
 8                        CENTRAL DISTRICT OF CALIFORNIA
 9
10   KEVIN ROBINSON, an Individual,           Case No.:
11                       Plaintiff,
12                       v.
13   BREWER PROPERTIES LLC, a                 COMPLAINT FOR:
     California limited liability company,
14   7-ELEVEN, #18284 a business of            1. VIOLATIONS OF THE
     unknown form; and DOES 1-10,
15                                                AMERICANS WITH DISABILITIES
                         Defendants.              ACT OF 1990, 42 U.S.C. §12181, ET
16                                                SEQ.; AND
17
                                               2. VIOLATIONS OF THE UNRUH
18                                                CIVIL RIGHTS ACT, CALIFORNIA
19                                                CIVIL CODE § 51, ET SEQ.
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                                             COMPLAINT
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 1         Comes now Plaintiff KEVIN ROBINSON (“Plaintiff”), who complains and
 2   alleges of Defendants BREWER PROPERTIES LLC and 7-ELEVEN
 3   (“Defendants”) as follows:
 4                                           PARTIES
 5   1.    Plaintiff is an adult California resident. Plaintiff has a Disabled Person
 6   Parking Placard issued to him by the State of California. Plaintiff is substantially
 7   limited in performing one or more major life activities, including but not limited to:
 8   walking, standing, ambulating and sitting. As a result of these disabilities, Plaintiff
 9   relies upon mobility devices to ambulate. With such disabilities, Plaintiff qualifies
10   as a member of a protected class under the Americans with Disabilities Act
11   (“ADA”), 42 U.S.C. §12102(2) and the regulations implementing the ADA set
12   forth at 28 C.F.R. §§ 36.101, et seq.
13   2.    Plaintiff brings this action acting as a “private attorney general” as permitted
14   under the American with Disabilities Act of 1990 (“ADA”) to privatize
15   enforcement of the ADA without the American tax payer(s) bearing the financial
16   tax burden for such action.
17   3.    Plaintiff is informed and believes and thereon alleges that Defendants
18   conduct and operate their business at the property located at 541 W. Imperial
19   Highway, La Habra CA 90631 (“Property”). BREWER PROPERTIES LLC and 7-
20   ELEVEN operate a 7-Eleven (“Business”), which is a facility open to the public, a
21   place of public accommodation, and a business establishment
22   4.    Plaintiff is informed and believes and thereon alleges that Defendants are the
23   owner of the subject Property.
24   5.    Plaintiff does not know the true names of Defendants, their business
25   capacities, their ownership connection to the subject property and business, or their
26   relative responsibilities in causing the access violations herein complained of, and
27   alleges a joint venture and common enterprise by all such Defendants. Plaintiff is
28   informed and believes that each of the Defendants herein, including Does 1 through
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 1   10, inclusive, is responsible in some capacity for the events herein alleged, or is a
 2   necessary party for obtaining appropriate relief. Plaintiff will seek leave to amend
 3   when the true names, capacities, connections, and responsibilities of the Defendants
 4   and Does 1 through 10, inclusive, are ascertained.
 5                              JURSIDICTION AND VENUE
 6   6.     This Court has subject matter jurisdiction over this action pursuant to 28
 7   U.S.C. §§ 1331 and 1343(a) (3-4) for violations of the Americans with
 8   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. ("ADA").
 9   7.     This court has supplemental jurisdiction over Plaintiff’s non-federal claims
10   pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act
11   (“UCRA”) claims are so related to Plaintiff’s federal ADA claims in that they have
12   the same nucleus of operative facts and arising out of the same transactions, they
13   form part of the same case or controversy under Article III of the United States
14   Constitution.
15   8.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the real
16   property which is the subject of this action is located in this district and because
17   Plaintiff's causes of action arose in this district.
18                                GENERAL ALLEGATIONS
19   9.     Plaintiff went to the Business on or about June 14, 2021 for the dual purpose
20   of purchasing a drink and to confirm that this place of public accommodation is
21   accessible to persons with disabilities within the meaning of federal and state law.
22   10.    Parking spaces are one of the facilities, privileges and advantages reserved by
23   Defendants to persons at the property serving the Business.
24   11.    Unfortunately, although parking spaces were one of the facilities reserved for
25   patrons, there were no designated parking spaces available for persons with
26   disabilities that complied with the Americans with Disability Act Accessibility
27   Guidelines (“ADAAG”) on or about June 14, 2021. At that time, Plaintiff
28   experienced extreme difficulty availing himself to the Business accommodations.
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 1   12.   Instead of having architectural barrier free facilities for patrons with
 2   disabilities, Defendants have: a built-up curb ramp that projects from the sidewalk
 3   and into the disabled parking area (Section 406.5). Furthermore, the curb ramp is in
 4   excess of the maximum grade allowed by ADAAG specifications (Section 502.4); a
 5   built-up curb ramp that projects from the sidewalk and into the access aisle (Section
 6   406.5). Furthermore, the curb ramp is in excess of the maximum grade allowed by
 7   ADAAG specifications (Section 406.1).
 8   13.   Subject to the reservation of rights to assert further violations of law after a
 9   site inspection found infra, Plaintiff asserts there are additional ADA violations
10   which affect him personally.
11   14.   Plaintiff is informed and believes and thereon alleges Defendants had no
12   policy or plan in place to make sure that there was a compliant accessible access
13   parking reserved for persons with disabilities prior to June 14, 2021.
14   15.   Plaintiff is informed and believes and thereon alleges Defendants have no
15   policy or plan in place to make sure that the designated disabled parking for persons
16   with disabilities comport with the ADAAG.
17   16.   The designated disabled parking spaces for use by persons with disabilities
18   are a tip over, crash, fall hazard or trip hazard because it contains a built-up curb
19   ramp and cross slopes.
20   17.   Plaintiff personally encountered these barriers. These inaccessible conditions
21   denied the Plaintiff full and equal access and caused him difficulty, humiliation and
22   frustration.
23   18.   As an individual with a mobility disability who at times is dependent upon a
24   wheelchair or other mobility device, Plaintiff has a keen interest in whether public
25   accommodations have architectural barriers that impede full accessibility to those
26   accommodations by individuals with mobility impairments.
27   19.   Plaintiff is being deterred from patronizing the Business and its
28   accommodations on particular occasions, but intends to return to the Business for
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 1   the dual purpose of availing himself of the goods and services offered to the public
 2   and to ensure that the Business ceases evading its responsibilities under federal and
 3   state law.
 4   20.   The Defendants have failed to maintain in working and useable conditions
 5   those features required to provide ready access to persons with disabilities.
 6   21.   The violations identified above are easily removed without much difficulty or
 7   expense. They are the types of barriers identified by the Department of Justice as
 8   presumably readily achievable to remove and, in fact, these barriers are readily
 9   achievable to remove. Moreover, there are numerous alternative accommodations
10   that could be made to provide a greater level of access if complete removal were
11   not achievable.
12   22.   Given the obvious and blatant violation alleged hereinabove, Plaintiff
13   alleges, on information and belief, that there are other violations and barriers in the
14   site that relate to his disability. Plaintiff will amend the complaint, to provide
15   proper notice regarding the scope of this lawsuit, once he conducts a site inspection.
16   However, please be on notice that the Plaintiff seeks to have all barriers related to
17   his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding
18   that once a plaintiff encounters one barrier at a site, the plaintiff can sue to have all
19   barriers that relate to his disability removed regardless of whether he personally
20   encountered them). Upon being informed that the place of public accommodation
21   has become fully and equally accessible, he will return within 45 days as a “tester”
22   for the purpose of confirming their accessibility. Civil Rights Educ. and
23   Enforcement Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9 th Cir.
24   2017).
25   23.   Given the obvious and blatant violation alleged hereinabove, Plaintiff
26   alleges, on information and belief, that the failure to remove these barriers was
27   intentional because: (1) these particular barriers are intuitive and obvious; (2) the
28   Defendants exercised control and dominion over the conditions at this location prior
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 1   to June 14, 2021, (3) the lack of accessible facilities was not an accident because
 2   had the Defendants intended any other configuration, they had the means and
 3   ability to make the change.
 4   24.   Without injunctive relief, Plaintiff will continue to be unable to fully access
 5   Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
 6                              FIRST CAUSE OF ACTION
 7   (Violations of the Americans With Disabilities Act Of 1990, 42 U.S.C. § 12181,
 8                             et seq. Against All Defendants)
 9   25.   Plaintiff incorporates by reference, as though fully set forth, paragraphs 1
10   through 24 of this Complaint.
11   26.   Under the ADA, it is an act of discrimination to fail to ensure that the
12   privileges, advantages, accommodations, facilities, goods, and services of any place
13   of public accommodation are offered on a full and equal basis by anyone who
14   owns, leases, or operates a place of public accommodation. See 42 U.S.C. §
15   12182(a). Discrimination is defined, inter alia, as follows.
16             a. A failure to make reasonable modifications in policies, practices, or
17                procedures, when such modifications are necessary to afford goods,
18                services, facilities, privileges, advantages, or accommodations to
19                individuals with disabilities, unless the accommodation would work a
20                fundamental alteration of those services and facilities. 42 U.S.C. §
21                12182(b)(2)(A)(ii).
22             b. A failure to remove architectural barriers where such removal is
23                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
24                defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
25                Appendix "D".
26             c. A failure to make alterations in such a manner that, to the maximum
27                extent feasible, the altered portions of the facility are readily accessible
28                to and usable by individuals with disabilities, including individuals
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 1                who use wheelchairs, or to ensure that, to the maximum extent
 2                feasible, the path of travel to the altered area and the bathrooms,
 3                telephones, and drinking fountains serving the area, are readily
 4                accessible to and usable by individuals with disabilities. 42 U.S.C. §
 5                12183(a)(2).
 6   27.   Any business that provides parking spaces must provide accessible parking
 7   spaces. 1991 Standards § 4.1.2(5). 2010 Standards § 208. Under the 1991
 8   Standards, parking spaces and access aisles must be level with surface slopes not
 9   exceeding 1:50 (2.0%) in all directions. 1991 Standards § 4.6.2. Under the 2010
10   Standards, access aisles shall be at the same level as the parking spaces they serve.
11   Changes in level are not permitted. 2010 Standards § 502.4. "Access aisles are
12   required to be nearly level in all directions to provide a surface for wheelchair
13   transfer to and from vehicles." 2010 Standards § 502.4 Advisory. Here the failure
14   to provide a level access aisle in the designated disabled parking space is a violation
15   of the law and excess slope angle in the access pathway is a violation of the law.
16   28.   A public accommodation must maintain in operable working condition those
17   features of its facilities and equipment that are required to be readily accessible to
18   and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
19   29.   Here, the failure to ensure that accessible facilities were available and ready
20   to be used by Plaintiff is a violation of law.
21   30.   Given its location and options, Plaintiff will continue to desire to patronize
22   the Business but he has been and will continue to be discriminated against due to
23   lack of accessible facilities and, therefore, seeks injunctive relief to remove the
24   barriers.
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26   ///
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 1                             SECOND CAUSE OF ACTION
 2               (Violation of the UCRA, California Civil Code § 51, et seq.
 3                                 Against All Defendants)
 4   31.   Plaintiff incorporates by reference, as though fully set forth, paragraphs 1
 5   through 30 of this Complaint.
 6   32.   California Civil Code section 51, et seq. guarantees equal access for people
 7   with disabilities to the accommodations, advantages, facilities, privileges, and
 8   services of all business establishments of any kind whatsoever. Defendant is
 9   systematically violating the UCRA, Civil Code section 51, et seq.
10   33.   Because Defendants violated Plaintiff’s rights under the ADA, they also
11   violated the UCRA and are liable for damages. CAL. CIV. CODE §§ 51(f) and
12   52(a). These violations are ongoing.
13   34.   Plaintiff is informed and believes and thereon alleges that Defendants’
14   actions constitute intentional discrimination against Plaintiff on the basis of a
15   disability, in violation of the UCRA, Civil Code section 51, et seq., because
16   Defendants have been previously put on actual or constructive notice that the
17   Business is inaccessible to Plaintiff. Despite this knowledge, Defendants maintain
18   their premises in an inaccessible form, and Defendants have failed to take actions to
19   correct these barriers.
20                                          PRAYER
21   WHEREFORE, Plaintiff prays that this court award damages provide relief as
22   follows:
23   1.    A preliminary and permanent injunction enjoining Defendants from further
24   violations of the ADA, 42 U.S.C. § 12181 et seq., and UCRA, Civil Code § 51 et
25   seq. with respect to its operation of the Business and Property.
26   2.    An award of actual damages and statutory damages of not less than $4,000
27   per violation pursuant to § 52(a) of the California Civil Code.
28   3.    An additional award of $4,000.00 as deterrence damages for each violation
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 1   pursuant to Johnson v. Guedoir, 218 F.Supp.3d 1096; 2016 U.S. Dist. LEXIS
 2   150740 (USDC Cal, E.D. 2016).
 3   4.    For reasonable attorneys’ fees, litigation expenses, and costs of suit, pursuant
 4   to 42 U.S.C. § 12205; California Civil Code § 52.
 5
 6                               DEMAND FOR JURY TRIAL
 7         Plaintiff KEVIN ROBINSON hereby respectfully requests a trial by jury on
 8   all appropriate issues raised in this Complaint.
 9
10   DATED: June 22, 2021                           MCFARLIN LLP
11
12                                          By:     /s/ Timothy G. McFarlin
                                                    ___________________________
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14                                                  Timothy G. McFarlin
                                                    Attorneys for Plaintiff
15                                                  KEVIN ROBINSON
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                                            COMPLAINT
